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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES,

               Plaintiff,

       v.                                             Criminal Action No. 21-6 (TJK)

DOUGLAS JENSEN,

               Defendant.


                                             ORDER

       On February 23, 2021, the Court ordered Defendant detained pending trial. See ECF No.

15. Defendant later moved for pretrial release with conditions, and the Court granted that motion.

See ECF No. 21; ECF No. 30; ECF No. 31. About one month later, Pretrial Services reported that

Defendant had violated the conditions prohibiting him from accessing internet-capable devices

and the internet, and the Government moved to revoke Defendant’s pretrial release. See ECF No.

32; ECF No. 34. After a hearing on the Government’s motion, the Court granted it, finding by

clear and convincing evidence that Defendant had violated his conditions of release, finding that

he was unlikely to abide by any condition or combination of conditions, and again ordering

Defendant detained pending trial. See Minute Entry of September 2, 2021; ECF No. 37 (citing 18

U.S.C. § 3148). Defendant now moves for reconsideration of that order. See ECF No. 54. The

Government opposes. See ECF No. 55.

       “Although not expressly authorized by the Federal Rules of Criminal Procedure, motions

for reconsideration are allowed in criminal cases” to allow courts “the opportunity ‘to correct their

own alleged errors.’” United States v. Jones, 916 F. Supp. 2d 83, 86 (D.D.C. 2013) (quoting

United States v. Dieter, 429 U.S. 6, 8 (1976)). “For interlocutory pretrial-detention orders, courts
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in this district apply the ‘as justice requires’ standard ordinarily applied to motions under F.R.C.P.

54(b).” United States v. Worrell, No. 21-cr-292 (RCL), 2021 WL 2366934, at *9 (D.D.C. June 9,

2021). Under that standard, reconsideration “may be warranted” when the Court “has patently

misunderstood the parties, made a decision beyond the adversarial issues presented, or made an

error in failing to consider controlling decisions or data, or where a controlling or significant

change in the law has occurred.” Id. at *10 (internal quotation marks omitted). But reconsideration

is not “a vehicle for relitigating issues on which the court already ruled.” Id.

       In his motion, Defendant relitigates his opposition to the Government’s revocation motion.

Compare ECF No. 35 at 1–3, with ECF No. 54 at 2. The Court already rejected those arguments,

and it will not reconsider them now. See Worrell, 2021 WL 2366934, at *10. Beyond that,

Defendant argues that the conditions he violated were onerous given that in 2021 “the internet [is]

an integral part of our lives.” 1 ECF No. 54 at 2. But he does not claim, let alone show, that the

Court previously “patently misunderstood” him, “made a decision beyond the adversarial issues

presented,” or “made an error in failing to consider controlling decisions or data,” and he does not

identify any relevant “controlling or significant change in the law.” See Worrell, 2021 WL

2366934, at *10. Thus, he has not shown that reconsideration is warranted. 2




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  As the Government points out, Defendant did not object to these conditions when they were
imposed. Far from it—he suggested them. See ECF No. 21 at 4. He did so because he himself
linked his conduct on January 6 to his consumption of “internet sourced info.” Id. at 7. And he
told the Court that restricting his access to the internet would mitigate his danger to the community
by “eliminat[ing] concerns over influence by the internet.” Id. at 8.
2
  Defendant also argues that the Court should modify his conditions of release relating to internet
access. See ECF No. 54 at 2. The Court will deny his motion for reconsideration, so Defendant
will remain detained. Thus, the Court need not consider whether to modify these conditions. But
that Defendant seeks to modify conditions that he himself proposed—after violating them—only
underscores the Court’s conclusion that he is unlikely to abide by them.


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       For these reasons, it is hereby ORDERED that Defendant’s Motion for Reconsideration,

ECF No. 54, is DENIED.

       SO ORDERED.



                                                        /s/ Timothy J. Kelly
                                                        TIMOTHY J. KELLY
                                                        United States District Judge

Date: January 12, 2022




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